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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

YVONNE COE,

       Plaintiff,

v.                                                      Case No: 8:17-cv-1655-MSS-CPT

EOS CCA,

       Defendant.


               ORDER OF DISMISSAL WITHOUT PREJUDICE
       On March 19, 2019, Plaintiff filed a Notice of Pending Settlement, informing the

Court that the Parties “have reached a settlement with regard to this case and are

presently drafting, finalizing and executing the settlement and dismissal documents.”

(Dkt. 32) Therefore, it is hereby

       ORDERED that pursuant to Rule 3.08 (b) of the Local Rules of the United States

District Court for the Middle District of Florida, this case is DISMISSED WITHOUT

PREJUDICE, subject to the right of the Parties, within sixty (60) calendar days from the

date of this Order, to submit a final stipulation of dismissal, should they so choose, or for

any party to reopen the case, upon good cause shown. After the sixty (60)-day period,

the dismissal shall be with prejudice. Any pending motions are DENIED as moot. The

Clerk is directed to CLOSE this case.

       DONE and ORDERED in Tampa, Florida, this 20th day of March, 2019.
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Copies furnished to:
Counsel of Record
Any pro se party




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